      Case 8-20-72407-reg                Doc 556       Filed 10/25/22      Entered 10/25/22 10:42:01




LaMONICA HERBST & MANISCALCO, LLP                                       Presentment Date: November 18, 2022 at 10:00 a.m.
Counsel to Lori Lapin Jones, Esq., Chapter 7 Trustee                    Objection Deadline: November 15, 2022 by 5:00 p.m.
3305 Jerusalem Avenue, Suite 201
Wantagh, New York 11793
Telephone: (516) 826-6500
Holly R. Holecek, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 7

MYINT KYAW a/k/a JEFFREY WU,                                            Case No.: 8-20-72407-reg

                                    Debtor.
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                NOTICE OF PRESENTMENT OF STIPULATION AND ORDER

         PLEASE TAKE NOTICE that, on November 18, 2022 at 10:00 a.m., Lori Lapin Jones,

Esq., solely in her capacity as Chapter 7 Trustee of the Estate of Myint Kyaw a/k/a Jeffrey Wu,

will present the annexed Stipulation and Order (“Stipulation”) to the Honorable Robert E.

Grossman, United States Bankruptcy Judge, at the United States Bankruptcy Court for the Eastern

District of New York (“Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Proposed Order must

be in writing, conform with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure,

state with particularity the grounds therefor and be filed with the Bankruptcy Court no later than

November 15, 2022 by 5:00 p.m. (“Objection Deadline”) as follows: (I) through the Bankruptcy

Court’s electronic filing system, which may be accessed through the internet at the Bankruptcy

Court’s website (www.nyeb.uscourts.gov) and in portable document format (PDF) using Adobe

Exchange Software for conversion; or (II) if a party is unavailable to file electronically, such party

shall submit the objection in PDF format on portable media in an envelope with the case name,

case number, type and title of document, document number to which the objection refers and the
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file name on the outside of the envelope to the Clerk of the United States Bankruptcy Court,

Alfonse M. D'Amato U.S. Courthouse, 290 Federal Plaza, Central Islip, New York 11722.

       PLEASE TAKE FURTHER NOTICE that, if an objection to the Stipulation is not filed

by the Objection Deadline, the relief requested shall be deemed unopposed, and the Bankruptcy

Court may So Order the Stipulation without further notice.

       PLEASE TAKE FURTHER NOTICE that if an objection to the Order is timely filed in

accordance with this notice, a hearing will be scheduled before the Honorable Robert E. Grossman,

notice of which will be separately provided.

Dated: October 25, 2022
       Wantagh, New York             LaMONICA HERBST & MANISCALCO, LLP
                                     Counsel to Lori Lapin Jones, Esq., as Chapter 7 Trustee

                              By:    s/ Holly R. Holecek
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                                     A Partner of the Firm
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